            Case 2:13-cr-00341-JAM-KJN Document 30 Filed 07/21/14 Page 1 of 3


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 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00341-JAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   MARCOS SOTO GONZALEZ,                               DATE: July 29, 2014
     aka, Antonio Suazo Landa,                           TIME: 9:30 a.m.
15                                                       COURT: Hon. John A. Mendez
                                  Defendant.
16

17
                                                 STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19
     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on July 29, 2014.
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            2.      By this stipulation, defendant now moves to continue the status conference until August
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     12, 2014 at 9:30 a.m., and to exclude time between July 29, 2014, and August 12, 2014 at 9:30 a.m.,
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     under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)      The government has represented that the discovery has been either produced
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            directly to counsel or made available for inspection and copying.
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                    b)      Counsel for defendant desires additional time to review this discovery, engage in
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            additional research and investigation, discuss potential resolutions with his client, prepare

      STIPULATION REGARDING EXCLUDABLE TIME               1
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:13-cr-00341-JAM-KJN Document 30 Filed 07/21/14 Page 2 of 3


 1          pretrial motions, and/or otherwise prepare for trial.

 2                 c)       Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him the reasonable time necessary for effective preparation, taking into

 4          account the exercise of due diligence.

 5                 d)       The government does not object to the continuance.

 6                 e)       Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                 f)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of July 29, 2014 to August 12, 2014

11          at 9:30 a.m., inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

12          Code T4] because it results from a continuance granted by the Court at defendant’s request on

13          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

14          best interest of the public and the defendant in a speedy trial.

15          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

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20
     Dated: July 18, 2014                                     BENJAMIN B. WAGNER
21                                                            United States Attorney
22
                                                              /s/ MICHAEL D. McCOY
23                                                            MICHAEL D. McCOY
                                                              Assistant United States Attorney
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25
     Dated: July 18, 2014                                     /s/ ROBERT McCANN
26                                                            (by telephone authorization)
                                                              ROBERT McCANN
27
                                                              Counsel for Defendant
28                                                            Marcos Soto Gonzalez


      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
          Case 2:13-cr-00341-JAM-KJN Document 30 Filed 07/21/14 Page 3 of 3


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 3                                      FINDINGS AND ORDER

 4        IT IS SO FOUND AND ORDERED this 21st day of July, 2014

 5
                                              /s/ John A. Mendez
 6                                            THE HONORABLE JOHN A. MENDEZ
                                              UNITED STATES DISTRICT JUDGE
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     STIPULATION REGARDING EXCLUDABLE TIME      3
     PERIODS UNDER SPEEDY TRIAL ACT
